     Case: 1:18-cv-03632 Document #: 20 Filed: 07/11/18 Page 1 of 1 PageID #:157

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

The Boiling Point, Inc.
                                  Plaintiff,
v.                                                      Case No.: 1:18−cv−03632
                                                        Honorable Ruben Castillo
Nan Luo, et al.
                                  Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 11, 2018:


       MINUTE entry before the Honorable Ruben Castillo:Status hearing held on
7/11/2018. Status hearing set for 8/1/2018 at 09:45 AM.Mailed notice(clw, )




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